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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION



RAZBERI TECHNOLOGIES, INC., a
Delaware corporation


                Plaintiff,
                                                      CASE NO. ________________________
       v.

DYNACOLOR, INC., a foreign                            JURY TRIAL DEMANDED
corporation, and DYNACOLOR USA, INC,
a corporation with its principal place of
business in California

                Defendants.


                                   ORIGINAL COMPLAINT

       Plaintiff Razberi Technologies, Inc. (“Razberi”), by and through its attorneys at Vinson

& Elkins LLP, complains and alleges against DynaColor, Inc. (“DynaColor”), and DynaColor

USA, Inc. (collectively, “Defendants”) as follows:

                                            The Parties

       1.     Razberi is, and at all times relevant herein was, a corporation incorporated in

Delaware, with a principal place of business at 13755 Hutton Drive, Suite 500

Farmers Branch, Texas 75234.
       2.     Razberi is a leading developer and manufacturer of networked digital video

solutions for professional video surveillance and security applications. Razberi is known for its

plug-and-play network video recorders (“NVRs”), which are designed for use with a Windows-

based software platform for recording networked digital surveillance in a wide range of

industries, including energy, oil and gas, retail, and finance.

       3.     Razberi is informed and believes, and thereon alleges, that at all times relevant

Defendant DynaColor is registered as a Taiwanese corporation, with a principal place of




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business at No, 116, Jou Tz Street, Neihu, Taipei 114, Taiwan. DynaColor can be served via

personal service at its place of business in Taiwan or via Letters Rogatory issued by the US

District Court and served via the Taiwanese court system. DynaColor has regularly conducted

business in the Northern District of Texas, including entering into an Assignment Agreement,

which it agreed is to be governed by Texas Law, under which it assigned its rights in certain

assets and rights to Razberi.

       4.     Razberi is informed and believes, and thereon alleges, that at all times relevant

Defendant DynaColor USA, Inc. is a subsidiary of DynaColor, with a principal place of
business at Irvine Business Park, Suite 108, 9272 Jeronimo Road, Irvine, CA 92618.

DynaColor USA has regularly conducted business in the Northern District of Texas, including

entering into a providing warranty and repair services to Razberi pursuant to DynaColor’s

agreements with Razberi.

                                   JURISDICTION AND VENUE
                            SUBJECT MATTER JURISDICTION

       5.     The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1331 and 1367 because Razberi asserts a cause of action under federal law under the Defend

Trade Secrets Act (“DTSA”), Pub. L. No. 114-153, 130 Stat. 376, which passed into law on

May 11, 2016. The DTSA amended chapter 90 of the Title 18 of the U.S. Code (the Economic

Espionage Act of 1996) to provide federal jurisdiction for the theft and misappropriation of

trade secrets. See 18 U.S.C. §§ 1831, et seq. (as amended).

       6.     This Court has supplemental jurisdiction over Razberi’s state law claims under

28 U.S.C. § 1367(a).

       7.     Razberi has a principal place of business in Texas, and thus is a citizen of Texas.

       8.     Defendant DynaColor is not a citizen of Texas because it has its principal place

of business in Taiwan.

       9.     Defendant DynaColor USA is not a citizen of Texas because it has its principal

place of business in California.


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         10.   Therefore, this Court has original jurisdiction over this matter under 28 U.S.C.

§ 1332(a), because there is complete diversity of citizenship between Plaintiff and Defendants,

who are citizens of different states; and more than $75,000, exclusive of interest and costs, is at

stake.

         11.   Razberi in this action seeks monetary relief over $75,000.00, exclusive of interest

and costs.

                         PERSONAL JURISDICTION AND VENUE

         12.   This Court has personal jurisdiction over each of the Defendants. Each of the
Defendants, upon information and belief, has conducted business in, and has had continuous

and systematic contacts with, the State of Texas and the United States of America. By way of

example and, without limitation:

               a. DynaColor:

                           i.   invested in Razberi, located in Northern District of Texas;

                         ii.    negotiated and executed a Memorandum of Understanding

(“MOU”) with Texas-based NetVideo Consulting, Inc., located in the Northern District of

Texas, regarding the creation of Razberi, located in the Northern District of Texas;

                         iii.   negotiated and executed an Asset Purchase Agreement with

Texas-based GVI Security Video management Solutions, LLC, and GVI Security, Inc.

(“collectively GVI”), both located in the Northern District of Texas, by which DynaColor and

Texas-based NetVideo Consulting jointly purchased assets from GVI that were later assigned

to Razberi and are the subject of this litigation;

                         iv.    negotiated and executed an Assignment Agreement with Texas-

based Razberi, which Assignment Agreement is subject of this litigation and which Assignment

Agreement DynaColor has breached;

                          v.    executed as a guarantor an OEM Agreement on behalf of Texas-

based Razberi, located in the Northern District of Texas;




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                           vi.    committed actions in the Northern District of Texas and

elsewhere that amounted to tortious interference with Razberi’s advantageous contractual

relationships, thus injuring Razberi, located in the Northern District of Texas; and

                         vii.     improperly acquired, and made unauthorized use and disclosure

confidential and trade secret information owned by Razberi, which actions are the subject of

Razberi’s claims in this action.

                b. DynaColor USA:

                             i.   provided warranty service and repair to entities in Texas and the
Northern District of Texas, including Razberi, which is located in the Northern District of

Texas;

                           ii.    committed actions in the Northern District of Texas and

elsewhere that amounted to tortious interference with Razberi’s advantageous contractual

relationships, thus injuring Razberi, located in the Northern District of Texas; and

                           iii.   used and disclosed confidential and trade secret information

owned by Razberi without authorization, which actions are the subject of Razberi’s claims in

this action.

         13.   Alternatively, the Defendants have had systematic, continuous, and substantial

contacts with the United States as a whole such that federal jurisdiction is appropriate under

Fed. R. Civ. P. 4(k)(2).

         14.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) in that a

substantial part of the events or omissions giving rise to the claims herein occurred in this

District, a substantial part of the property that is the subject of the action is situated in this

District, and Defendants have sufficient contacts with this Federal Judicial District such that

Defendants may be found here.

         15.   Venue is also proper in this Court because Defendants have specifically agreed to

the exclusive jurisdiction of the state and federal courts located within Dallas County with




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respect to all claims brought under the Assignment Agreement that is the subject of this action,

and which Defendants have breached.

       16.    As used herein, allegations against DynaColor include allegations against

DynaColor USA, unless specifically excepted.

                                          BACKGROUND


       17.    In 2011-2012, Thomas J. Galvin launched Razberi Technologies based on

technology he had invented and developed for, and then acquired from, GVI Security. Razberi

is a privately-held company founded and managed by veteran security experts and innovators.
Razberi develops and manufactures intelligent network appliances for physical security.

Razberi’s flagship Intelligent Surveillance Appliance, the Razberi™ ServerSwitch™ is a

superior, open alternative to general purpose systems and Network Video Recorders (NVRs).

The Razberi™ ServerSwitch™ replaces the traditional server, storage devices, network switch,

and camera power supplies with a single appliance designed for IP video recording and

management. Razberi’s products are ground-breaking solutions to the complexity of network

video, providing both ease-of-use and simplicity of install.

       18.    Security leaders rely on Razberi for unmatched reliability, visibility over the

physical security ecosystem down to the camera, protection from cyber security threats, and to

future-proof security investment through smart scalability. Razberi solutions are available

through a worldwide network of value added partners. The company designs and manufactures

its products in the Dallas, Texas area.


 Razberi is Launched for the Purpose of Developing and Selling NVR Products Based on
   Intellectual Property Jointly Acquired and Transferred by Galvin and DynaColor

       19.    To launch Razberi, Galvin partnered his new company with DynaColor, a

publicly traded Taiwan-based OEM manufacturer of video surveillance products. DynaColor,

through is majority owner and president, Warren Chen, became Razberi’s lead investor and

majority owner. As part of its investment, DynaColor had the right to appoint a director on


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Razberi’s board of directors. DynaColor appointed its own president, Chen, to be a director on

Razberi’s board of directors. Razberi’s by-laws identified only two directors, and Chen was

one of them.

       20.     The specific timeline for the launch of Razberi is important to understand the

parties’ intentions. Galvin first met Chen around 2009, when Galvin was the Product Manager

for GVI Security. At that time, GVI Security distributed commercial surveillance cameras, and

DynaColor was one of its suppliers. One GVI entity, GVI Security Video Management

Solutions, LLC (“GVI VMS”), entered into an Independent Contractor Services Agreement
with a company called Right Hand Technologies, Inc. (“Right Hand Technologies”), under

which Right Hand Technologies designed and developed an NVR for GVI VMS.

      21.      In 2011, Galvin approached Chen in an effort to secure financing for a

new venture, NetVideo Consulting, a predecessor company to Razberi. On September 6, 2011,

NetVideo Consulting executed an NDA with DynaColor to discuss trade secret information and

contemplate a joint venture using the trade secrets and other intellectual property from GVI

Security, which was not thriving at the time. DynaColor specifically promised not to use or

disclose, or reverse engineer, any confidential information acquired or learned from NetVideo

Consulting under the NDA.

       22.     Later that same month, on September 22, 2011, DynaColor and NetVideo

Consulting entered into a Memorandum of Understanding (the “MOU”) under which the

parties agreed to jointly acquire intellectual property from GVI Security, including intellectual

property related to the NVR designed by Right Hand Technologies for GVI VMS, and create a

joint venture to be named “Razberi Technologies” to commercialize and market the intellectual

property from GVI Security. Both parties understood that DynaColor would function solely as

Razberi’s OEM partner to manufacture the component parts to Razberi’s NVR products.

       23.     One week later, on September 27, 2011, DynaColor and NetVideo Consulting

executed an Asset Purchase Agreement with GVI Security to jointly acquire assets and

intellectual property from GVI and Right Hand Technologies, just as envisioned in the MOU.


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       24.    In March of 2012, after Razberi Technologies was jointly formed and owned by

DynaColor and NetVideo Consulting., DynaColor and NetVideo Consulting executed an

Assignment Agreement through which DynaColor purportedly transferred “all assets and

rights” acquired from GVI Security to Razberi. Indeed, the Assignment Agreement confirmed

that it was both parties’ intent for Razberi Technologies to develop and exploit all of the assets

and rights acquired from GVI Security. In the Assignment Agreement, DynaColor assigned

“all of DynaColor’s rights, title and interests in and to the Purchased Rights & Assets free and

clear of any and all liabilities, claims, liens security interests and judgments of any kind.”
Under the Assignment Agreement, DynaColor retained no rights to the intellectual property

acquired from GVI Securities.

       25.    Under this Assignment Agreement, DynaColor agreed to the exclusive

jurisdiction of the state and federal courts within Dallas County, Texas for all claims brought

under the Assignment Agreement.

       26.    Rather than having Right Hand Technologies manufacture Razberi’s products,

Chen convinced Galvin to move all engineering and design to DynaColor’s Taiwan facility,

supposedly to provide cost efficiencies in designing, developing and exploiting the intellectual

property assets acquired from GVI Security. To do so, Razberi transferred significant

confidential and trade secret information, including designs, component parts, BOM,

specifications, drawings, and other materials and information sufficient for DynaColor to

manufacture (as an OEM partner) Razberi’s NVR products for Razberi. As the relationship

developed, the components for Razberi’s products were manufactured by DynaColor in

Taiwan, and then shipped to Razberi’s facility in Texas, where Razberi provided end

manufacturing and assembly to finalize the product for delivery to customers.

       27.    DynaColor used the information from Razberi to manufacture components for

Razberi, which components were sold and shipped to Razberi in the United States, and which

were then assembled and sold by Razberi. In addition, DynaColor and DynaColor USA

provided technical support, training, repair services though a structured Return Merchandise


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Authorization (“RMA”) process, and supplied datasheets and technical information for

branding and distribution by Razberi.

       28.    During Razberi and DynaColor’s early partnership, Galvin requested many times

for the parties’ relationship to be further memorialized in written agreements setting forth the

parties’ respective rights and obligations. Based on DynaColor’s majority ownership position

and Chen’s role as a Director of Razberi, Chen forced Galvin and Razberi to continue forward

without any written agreement, saying simply that Galvin and Chen should trust each other.

Indeed, emails from Chen to Galvin specifically insisted that for Razberi to succeed, the parties
must have “sufficient collaboration between both partners.” And, further that, “sufficient

collaboration would require mutual trust.” Chen noted that “without the base of mutual trust, it

will generate suspicion and deteriorate efficiency of collaboration and eventually hurt

[Razberi].” With these emails and Chen’s assurances, Galvin agreed to go forward with the

Razberi joint venture without a written joint venture agreement. Based on Chen’s promises and

DynaColor’s assurances, DynaColor committed to acting in Razberi’s best interest.

       29.    The product that DynaColor and Razberi initially built based on the intellectual

property acquired from GVI Security is called the M-Series. In late 2012, based on the designs

of the M-Series, DynaColor developed a derivative NVR product, the A-Series, which provided

some additional cost-saving efficiencies and additional I/O ports, but had the same design and

footprint at the M Series.. In June of 2013, Razberi began selling the A-Series NVR, using

DynaColor as the OEM of component parts for the product.


 DynaColor Offers Razberi’s Products to Razberi Competitors and Customers Without
                     Authorization and Behind Razberi’s Back

       30.    In December of 2013, Razberi learned that DynaColor had perhaps offered to sell

the A-series NVR to a competitor of Razberi, Sentry360. Based on this suspicion, in February

of 2014, Galvin visited Chen in Taiwan and personally confronted Chen with Galvin’s

suspicions about Sentry360. Chen did not deny that DynaColor offered to sell A-series NVR



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products to Sentry360. Galvin indicated that these unauthorized sales were contrary to the

parties’ contracts and the spirit of the partnership, and threatened to bring legal action. Chen

stated that Razberi could sue if it wanted, but reminded Galvin that DynaColor still owned a

majority share of Razberi and, regardless, DynaColor would pull all of its support and OEM

work from Razberi if Razberi did sue, leaving Razberi with no support or OEM partner. After

much discussion between Chen and Galvin in which Galvin emphasized that DynaColor would

be causing harm to Razberi and confusion in the marketplace in the channels into which

Razberi sold, Chen agreed that DynaColor would not sell the A-series to Sentry360. By
information and belief, however, Sentry360 is still marketing the A-series products.


                          Razberi Wins Key Business from Avigilon

       31.    In March of 2014, Razberi won the business and entered into a very important

OEM Agreement with Avigilon Corporation. Because of DynaColor’s status as a publicly

traded Taiwanese company and due to the significant amount of product that Avigilon intended

to purchase from Razberi, DynaColor also signed the Avigilon OEM agreement as a

“guarantor” to guarantee supply of product only if Razberi could not meet Avigilon’s order

requirements. Razberi’s business with Avigilon was significant, generating roughly $1M in

revenues each month for Razberi.

       32.    In May of 2014, Avigilon met with Razberi to discuss Razberi’s supply chain,

and DynaColor was disclosed as Razberi’s OEM Partner. Avigilon requested to purchase

directly from DynaColor and pay Razberi a royalty. Razberi, however, declined the offer as the

owner of all intellectual property regarding these NVR products.

       33.    In November of 2014, Razberi brought on additional investors, which meant that

DynaColor and Chen no longer had majority control of Razberi. Chen remained as a director

of Razberi.




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                DynaColor Secretly Takes Razberi’s Business with Avigilon

       34.    In March of 2015, after several months of significant orders from Razberi,

Avigilon’s orders and forecasts to Razberi for NVR product abruptly stopped. Razberi

attempted to contact Avigilon on several occasions to understand why Avigilon had so abruptly

stopped buying products from Razberi, but Avigilon avoided all such contact. Nevertheless,

Avigilon continued to sell Razberi’s NVR products in the marketplace.

       35.    Razberi contacted DynaColor and Chen to ask if they had any understanding

what happened to the Avigilon business, and DynaColor and Chen denied knowing anything.
Subsequently, Razberi specifically asked DynaColor and Chen if they were manufacturing

products for Avigilon as an OEM, but DynaColor and Chen through written communications

denied providing products directly or indirectly to Avigilon.

       36.    After allowing time to pass for Razberi’s products to flow through and out of

Avigilon’s inventory, Razberi obtained Avigilon’s NVR appliance in August of 2015. Upon

inspection, it was clear that Avigilon’s NVR appliance was a clone of Razberi’s NVR

appliance, but was not assembled in Razberi’s facility. The part numbers on the printed circuit

boards were identical to the part numbers that DynaColor manufactured for Razberi. Also, the

MAC IDs for the product were registered to DynaColor. The unit design and materials used

reflected exactly what DynaColor would ship to Razberi to be assembled. Therefore, it was

clear that Chen and DynaColor had misappropriated Razberi’s intellectual property, and used

Chen’s position as a Razberi director and DynaColor’s position as Razberi’s OEM partner, to

take Avigilon’s business away from Razberi. Worse yet, DynaColor had denied its actions

when directly asked by Razberi.

       37.    Additional channel confusion continued, and based on information and belief,

DynaColor has taken additional Razberi potential and existing business by selling clone

products that directly compete with Razberi to Sentry360 and other Razberi

competitors/customers.




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       38.     In February of 2016, Galvin traveled to Taiwan to meet with Chen in person.

Galvin took the evidence showing that DynaColor was providing OEM product to Avigilon and

had taken that business from Razberi. Galvin reminded Chen of the fiduciary duties that Chen

owed Razberi, that the Razberi designs were provided to DynaColor under an obligation of

confidence and as Razberi’s trusted OEM partner, and that DynaColor was prohibited from

such conduct by its various contracts with Razberi. Galvin confronted Chen in a face-to-face

meeting with the direct evidence of DynaColor’s wrong-doing. Chen neither admitted nor

denied the wrongdoing, simply shrugging his shoulders. Galvin outlined terms for a resolution
of DynaColor’s wrongdoing, and Chen simply requested that Razberi’s demands be set forth in

writing.

       39.     In response to Chen’s request, counsel for Razberi sent a letter dated February

19, 2016, setting forth the basis for Razberi’s claims as well as providing a proposal for

resolution of Razberi’s claims without the need for court intervention. DynaColor refused to

agree to Razberi’s proposal, and the parties were unable to agree to any resolution that would

rectify DynaColor’s conduct.

       40.      DynaColor continues to make, offer and sell its DynaGuard A Series, H Series

(another new derivation using Razberi’s intellectual property) and M Series NVRs. Taking

advantage of DynaColor’s role as investor and majority owner, DynaColor exploited Razberi’s

intellectual property, used it for its own profit, and developed these clone products to

intentionally target Razberi’s existing and potential customers.


             Razberi is Entitled to Recover Reasonable Attorneys’ Fees and Costs

       41.     By letter dated September 22, 2016, pursuant to Texas CPRC §§ 38.001 et. Seq.,

Razberi provided notice of its breach of written contract claim and presented DynaColor with a

claim for damages under its written contracts, as well as a courtesy copy of this Complaint.

Because DynaColor has refused to pay the just amount of damages caused by DynaColor’s

breach, Razberi has been forced to retain counsel and pursue its legal remedies.


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                                 FIRST CAUSE OF ACTION

                                   Breach of Contract (NDA)

       42.     Razberi re-alleges and incorporates by reference each and every allegation

contained in the above paragraphs of this Complaint.

       43.     In September 2011, DynaColor and NetVideo Consulting, Inc. entered into a

valid and enforceable contract titled “Mutual Nondisclosure Agreement” (the “NDA”). The

rights and obligations of NetVideo Consulting, Inc. under the NDA were transferred to Razberi

in an agreement entitled “Assignment Agreement,” between NetVideo Consulting, Inc.,
DynaColor, and Razberi, which was executed in March of 2012 (the “Razberi Assignment

Agreement).”

       44.     DynaColor breached its NDA with Razberi in December of 2013 when it offered

to sell NVR products based on intellectual property first shared and exchanged under the NDA.

DynaColor continued to breach the NDA through its further manufacture and sales of NVR

products based on this same intellectual property.

       45.     Razberi has performed all of its obligations under the NDA and under the

Assignment Agreement.

       46.     As a direct and proximate result of DynaColor’s breaches of the NDA, Razberi

has incurred damages. Accordingly, Razberi is entitled to judgment against DynaColor for

compensatory damages, reasonable and necessary attorneys’ fees under at least Texas Civil

Practice and Remedies Code § 38.001, judgment that Defendants’ prior material breaches

excuse Razberi from further performance under the NDA and Assignment Agreement, and

such other and further relief to which Razberi is entitled at law or in equity.

                                SECOND CAUSE OF ACTION

                         Breach of Contract (Assignment Agreement)

       47.     Razberi re-alleges and incorporates by reference each and every allegation

contained in the above paragraphs of this Complaint.

       48.     The Razberi Assignment Agreement is a valid and enforceable contract.


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       49.    Razberi has performed all of its obligations under the Razberi Assignment

Agreement.

       50.    Under the Razberi Assignment Agreement, DynaColor purported to irrevocably

assign, sell, transfer and convey to Razberi DynaColor’s rights, title and interests. DynaColor

breached the Razberi Assignment Agreement by failing to fully assign all of its rights, title and

interests in assets and intellectual property acquired from GVI Security. Instead, however,

DynaColor breached the Assignment Agreement by, among other things, using and disclosing

these assets and intellectual property for its own purposes to develop and manufacture
Windows-based NVR products and component parts to sell to parties other than Razberi.

       51.    As a direct and proximate result of DynaColor’s breaches of contract, Razberi

has incurred damages. In addition to other damages to be proven at trial, DynaColor’s breach

of contract has already caused Razberi lost profits in excess of $4.5M based only on lost sales

to Avigilon, which damages continue to increase each month. On information and belief,

Razberi has suffered additional damages based on DynaColor’s sales to other parties, including

Sentry360. Accordingly, Razberi is entitled to judgment against DynaColor for compensatory

damages, reasonable and necessary attorneys’ fees under at least Texas Civil Practice and

Remedies Code § 38.001, judgment that Defendants’ prior material breaches excuse Razberi

from further performance under the Razberi Assignment Agreement, and such other and further

relief as to which Razberi is entitled at law or in equity.

                                 THIRD CAUSE OF ACTION

 Misappropriation of Trade Secrets in Violation of the Texas Uniform Trade Secrets Act

       52.    Razberi re-alleges and incorporates by reference each and every allegation

contained in the above paragraphs of this Complaint.

       53.    As set forth above, Razberi possesses and possessed certain trade secret

information, including designs, component parts, BOM, specifications, drawings, and other

materials and information sufficient for DynaColor to manufacture (as an OEM partner)

Razberi’s ServerSwitch. This information constitutes “trade secrets” under Texas’s Uniform


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Trade Secrets Act, section 134A, et seq. Razberi has made reasonable efforts to maintain the

secrecy of its trade secrets and to prevent the unauthorized disclosure or use of its trade secret

information. To the extent Razberi failed to take any measures to protect and safeguard its

trade secrets, such failures were a direct result of misrepresentations and false assurances from

DynaColor. Further, Razberi’s trade secrets derive independent economic value from not being

generally known to, and not being readily ascertainable by proper means by, other persons and

entities. Razberi provided DynaColor its trade secrets for the limited purpose of providing

OEM manufacturing services to Razberi.
       54.    Under Section 134A.002, DynaColor has misappropriated Razberi’s trade

secrets by making unauthorized use and disclosure of Razberi’s trade secrets to develop clone

products and compete directly with Razberi, and supply Razberi’s competitors the ability to

improperly compete with Razberi. Further, DynaColor has misappropriated Razberi’s trade

secrets through acquisition by improper means. Under Section 134A.002, “improper means”

includes theft, bribery, misrepresentation, breach or inducement of a breach of a duty to

maintain secrecy, to limit use, or to prohibit discovery of a trade secret, or espionage through

electronic or other means. DynaColor made multiple misrepresentations to Razberi to obtain

access to and possession of a number of Razberi trade secrets necessary to design and

manufacture NVR products. Further, by retaining these trade secrets for its own use, rather

than for the exclusive use of Razberi—the owner of the trade secrets—DynaColor also

misappropriated Razberi’s trade secrets.

       55.    Defendants’ intentional misuse and deception demonstrates that Chen and

DynaColor will continue to use and disclose Razberi’s trade secrets unless enjoined.

       56.    Unless enjoined by this Court, said misappropriation of trade secrets, actual or

threatened, will cause great and irreparable injury to Razberi, and Razberi has no adequate or

other remedy at law for such acts and threatened acts. Razberi is entitled to preliminary and

permanent injunctive relief under Section 134A.003




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       57.    Defendants’ actions constitute both actual and threatened misappropriation of

Razberi’s trade secrets under Sections 134A.001-002.

       58.    As a direct, proximate and foreseeable result of Defendants’ misappropriation of

trade secrets, actual or threatened, Razberi has been damaged in an amount not yet fully

ascertained, but in any event Razberi has suffered damages in excess of $4.5M in lost profits

caused by DynaColor. Such lost profit damages continue to increase each month.          Razberi is

entitled to such lost profit damages, as well as unjust enrichment, under Section 134.004.

DynaColor has made sales in the United States and to U.S.-based customers of its A-series, M-
Series, H-Series and other derivative products, and Razberi is entitled to unjust enrichment

damages based on all such sales.

       59.    Defendants’ unlawful actions were willful and malicious, and made with the

deliberate intent to injure Razberi’s business, thereby entitling Razberi to exemplary damages

and/or attorneys’ fees to be proven at trial under Sections 134.004(b) and 134.005.

                                FOURTH CAUSE OF ACTION

     Misappropriation of Trade Secrets in Violation of the Defend Trade Secrets Act

       60.    Razberi re-alleges and incorporates by reference each and every allegation

contained in the above paragraphs of this Complaint.

       61.    As set forth above, Razberi possesses and possessed certain trade secret

information, including designs, component parts, BOM, specifications, drawings, and other

materials and information sufficient for DynaColor to manufacture (as an OEM partner)

Razberi’s ServerSwitch. This information constitutes “trade secrets” under the Defend Trade

Secrets Act of 2016 (“DTSA”). Razberi has made reasonable efforts to maintain the secrecy of

its trade secrets and to prevent the unauthorized disclosure or use of its trade secret information.

To the extent Razberi failed to take any measures to protect and safeguard its trade secrets,

such failures were a direct result of misrepresentations and false assurances from DynaColor.

Further, Razberi’s trade secrets derive independent economic value from not being generally

known to, and not being readily ascertainable by proper means by, other persons and entities.


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Razberi provided DynaColor its trade secrets for the limited purpose of providing OEM

manufacturing services to Razberi.

        62.      Under the DTSA, DynaColor has misappropriated Razberi’s trade secrets by

making unauthorized use and disclosure of Razberi’s trade secrets to develop clone products

and compete directly with Razberi, and supply Razberi’s competitors the ability to improperly

compete with Razberi. Further, DynaColor has misappropriated Razberi’s trade secrets

through acquisition by improper means. Under the DTSA, “improper means” includes theft,

bribery, misrepresentation, breach or inducement of a breach of a duty to maintain secrecy, to
limit use, or to prohibit discovery of a trade secret, or espionage through electronic or other

means. DynaColor made multiple misrepresentations to Razberi to obtain access to and

possession of a number of Razberi trade secrets necessary to design and manufacture NVR

products. Further, by retaining these trade secrets for its own use, rather than for the exclusive

use of Razberi—the owner of the trade secrets—DynaColor also misappropriated Razberi’s

trade secrets.

        63.      DynaColor’s intentional misuse and deception demonstrates that Chen and

DynaColor will continue to use and disclose Razberi’s trade secrets unless enjoined.

        64.      Unless enjoined by this Court, said misappropriation of trade secrets, actual or

threatened, will cause great and irreparable injury to Razberi, and Razberi has no adequate or

other remedy at law for such acts and threatened acts. Razberi is entitled to preliminary and

permanent injunctive relief under the DTSA.

        65.      DynaColor’s actions constitute both actual and threatened misappropriation of

Razberi’s trade secrets under the DTSA.

        66.      As a direct, proximate and foreseeable result of DynaColor’s misappropriation of

trade secrets, actual or threatened, Razberi has been damaged in an amount not yet fully

ascertained, but in any event Razberi has suffered damages in excess of $4.5M in lost profits

caused by DynaColor. Such lost profit damages continue to increase each month.           Razberi is

entitled to such lost profit damages, as well as unjust enrichment, under the DTSA.


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DynaColor has made sales in the United States and to U.S.-based customers of its A-series, M-

Series, H-Series and other derivative products, and Razberi is entitled to unjust enrichment

damages based on all such sales.

       67.    Defendants’ unlawful actions were willful and malicious, and made with the

deliberate intent to injure Razberi’s business, thereby entitling Razberi to exemplary damages

and/or attorneys’ fees to be proven at trial under Sections 134.004(b) and 134.005.

                                 FIFTH CAUSE OF ACTION

                     Breach of Covenant of Good Faith and Fair Dealing
       68.    Razberi re-alleges and incorporates by reference each and every allegation

contained in the above paragraphs of this Complaint.

       69.    Razberi and DynaColor enjoyed a special relationship with DynaColor as an

investor, majority shareholder, and OEM partner of Razberi. Because of this special

relationship, the contractual agreements between the two parties perforce contain an implied

covenant of good faith and fair dealing. It was DynaColor’s stated intent that all assets and

intellectual property from GVI Security would be acquired for the exclusive benefit of and use

by Razberi Technologies, and once Razberi Technologies was formed, DynaColor would

transfer all of its rights, title and interests to Razberi Technologies. DynaColor requested that

Razberi “trust” DynaColor to act in Razberi’s best interest without the need of many formal

agreements.

       70.    DynaColor breached this covenant of good faith and fair dealing through its self-

dealing by using intellectual property, assets, confidential information, and trade secrets of

Razberi for its own benefit and to the detriment of Razberi.

       71.    DynaColor has also violated the covenant of good faith and fair dealing by all of

the foregoing, and also at least because Razberi has acted in bad faith by frustrating Razberi’s

rights to receive the benefits of the NDA and Razberi Assignment Agreement and by

interfering with Razberi’s relationships with its current and potential customers.




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       72.     DynaColor’s breach of the covenant of good faith and fair dealing has caused

significant harm to Razberi. Such damages have not yet been completely ascertained, but in

any event Razberi has suffered damages in excess of $4.5M, which damages continue to

increase each month.

                                  SIXTH CAUSE OF ACTION

                                         Injunctive Relief

       73.     Razberi re-alleges and incorporates by reference each and every allegation

contained in the above paragraphs of this Complaint.
       74.     Pursuant to Federal Rule of Civil Procedure 65, Razberi requests that this Court

issue an injunction:

             a. ordering DynaColor to return to Razberi all confidential, proprietary and trade
                secret information of Razberi within their possession, custody, or control; and

             b. prohibiting DynaColor from using in any manner any confidential, proprietary
                and trade secret information of Razberi, including confidential information
                regarding Razberi’s customers and products, including to solicit, switch and/or
                convert Razberi’s customers;

             c. prohibiting DynaColor from selling any of its A-series, M-Series, H-series and
                similar or derivative NVR products;

             d. requiring that DynaColor provide a copy of such injunctive relief to all
                individuals and entities to whom DynaColor has sold any A-series, M-Series, H-
                series and similar or derivative NVR products; and

             e. requiring that DynaColor seek from any reseller, distributor or other partner the
                return or destruction of all A-series, M-series, H-series and similar or derivative
                NVR products not yet sold to end customers.
       75.     By reason of the foregoing conduct, Razberi has suffered great and irreparable

injury. Unless DynaColor is enjoined from further breach of the Agreement, Razberi will suffer

additional irreparable injury by the loss of customers, disclosure of confidential, proprietary

and trade secret information, and loss of business reputation and will incur future economic

loss which is incalculable.

       76.     The threatened harm to Razberi is immediate.



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       77.    As set forth above and herein, Razberi has a probable right to the relief it seeks

on final hearing.

       78.    No damage to DynaColor and/or DynaColor USA will result from the requested

injunctive relief. DynaColor can continue as DynaColor and Razberi expected at the time of

their agreements.

       79.    Razberi has no adequate remedy at law, as the money damages for the future loss

of its customers based on the conduct by DynaColor cannot be completely measured or

calculated. In addition, without immediate and permanent injunctive relief, continued use and
disclosure by DynaColor of Razberi’s trade secret and confidential information will cause the

value of such trade secrets to be lost forever.

       80.    Harm is imminent to Razberi because DynaColor is wrongfully using Razberi’s

confidential and trade secret information to improperly solicit Razberi’s customers; and

DynaColor is violating its obligations to Razberi to return the same; DynaColor is violating its

obligation to Razberi not to use or disclose Razberi’s confidential information. If Defendants

are not stopped, the resulting damages to Razberi cannot be undone and would be irreparable.

Because damage to Razberi from Defendants’ conduct cannot be measured by any certain

pecuniary standard, Razberi cannot be adequately compensated in damages if the information

continues to be disclosed and/or used, or if Defendants are allowed to compete with Razberi in

violation of their agreements.

       81.    The threatened harm to Razberi is greater should injunctive relief not be ordered

in that Defendants are, in violation of the terms of the Agreement, in possession of Razberi’s

confidential, proprietary and trade secret information.

       82.    The public has an interest in seeing that contractual provisions, including

provisions regarding the use and disclosure of confidential, proprietary and trade secret

information and non-solicitation, are enforced.

       83.    Accordingly, Razberi requests that this Court:




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            a. Issue a temporary restraining order requiring DynaColor to return to Razberi all
               confidential, proprietary and trade secret information belonging to Razberi that
               is within its possession;

            b. Issue a preliminary injunction,

                    i. ordering DynaColor to return to Razberi all confidential, proprietary, and
                       trade secret information of Razberi within their possession, custody, or
                       control; and

                   ii. prohibiting DynaColor from using in any manner any confidential,
                       proprietary and trade secret information of Razberi, including
                       confidential information regarding Razberi’s customers and products,
                       including to solicit, switch and/or convert Razberi’s customers;

                  iii. prohibiting DynaColor from selling any of its A-series, M-Series, H-
                       series and similar or derivative NVR products;

                   iv. requiring that DynaColor provide a copy of such injunctive relief to all
                       individuals and entities to whom DynaColor has sold any A-series, M-
                       Series, H-series and similar or derivative NVR products; and

                   v. requiring that DynaColor seek from any reseller, distributor or other
                      partner the return or destruction of all A-series, M-series, H-series and
                      similar or derivative NVR products not yet sold to end customers.

            c. Issue a permanent injunction enjoining and restraining DynaColor from the
               conduct set forth above in the paragraphs above. Alternatively, to the extent the
               Court finds that the restrictive covenant at issue contains limitations as to time,
               geographical area, or scope of activity that are not reasonable and/or impose a
               greater restraint than necessary, pursuant to Section 15.51(c) of the Texas
               Business and Commerce Code, Razberi requests that the Court reform the
               covenant to the extent necessary to cause the limitations contained therein to be
               reasonable; and

            d. Award judgment in Razberi’s favor and against DynaColor for an award for
               their costs expended herein, including reasonable attorney’s fees, and for such
               other and further relief as is just and proper.
                                    PRAYER FOR RELIEF

       WHEREFORE, Razberi pray that judgment be entered in their favor and against

Defendants as follows:

       1.      General damages according to proof;

       2.      Special damages according to proof;




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       3.     Consequential damages;

       4.     For an equitable accounting, and disgorgement of any unjust enrichment;

       5.     For injunctive relief as outlined above and determined by the Court;

       6.     Punitive damages;

       7.     Interest at the maximum legal rate on all sums awarded;

       8.     Costs of suit, including reasonable attorneys’ fees as provided for in the

Agreement and at least under Texas Civil Practice and Remedies Code § 38.001; and

       9.     Such other and further relief as the Court deems just and proper.
                               DEMAND FOR JURY TRIAL

       Razberi demands a jury trial on all issues that may be determined by a jury.


Dated: September 22, 2016                         Respectfully submitted by,

                                                  /s/ Marvin Craig Tyler
                                                  Marvin Craig Tyler

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